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                         Exhibit B
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                                                 Exhibit B – U.S. Patent No. 9,271,266


Toyota makes, uses, tests, offers for sale, sells, and/or imports vehicles that comply, operate in accordance, and/or are configured in
accordance with 36 Series of one or more of 3GPP releases 8-16. Such vehicles are collectively referred to as the “Accused Products.”
The Accused Products include Toyota and Lexus-branded vehicles that support LTE and that were made in, used in, tested in, offered
for sale in, sold in, or imported into the United States by Toyota at some point in time since 2018. Each of the Accused Products
supports LTE and, thus, includes the features and functionality identified in this chart. The features and functionality identified in this
chart cause the Accused Products to practice the asserted claims of U.S. Patent No. 9,271,266 (the “’266 patent”).


               Claim 1                                                        Accused Products
 [PRE] A method of operating a user       An Accused Product is a user equipment (UE). As evidenced below, the Accused Products
 equipment, the method comprising:        perform a method of operating a user equipment when operating on an LTE network.

 [A] receiving a wireless signal at the   As evidenced below, an Accused Product operating on an LTE network receives a wireless
 user equipment, the wireless signal      signal at the user equipment, the wireless signal comprising a control channel for the user
 comprising a control channel for the     equipment, the control channel being in at least one control channel element (CCE), the
 user equipment, the control channel      control channel comprising an indication of an uplink communication resource useable by
 being in at least one control channel    the user equipment for uplink communication.
 element (CCE), the control channel
 comprising an indication of an
 uplink communication resource
 useable by the user equipment for
 uplink communication;




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                 Claim 1                                                     Accused Products




                                        Source: TS 36.213, 1 p. 64




1
    3GPP TS 36.213 V8.8.0 (2009-09) Evolved Universal Terrestrial Radio Access (E-UTRA); Physical layer procedures (Release 8)

                                                                 2
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              Claim 1                                                     Accused Products




                                     Source: TS 36.211, 2 p. 58




2
 3GPP TS 36.211 V8.9.0 (2009-12) Evolved Universal Terrestrial Radio Access (E-UTRA); Physical Channels and Modulation
(Release 8)

                                                              3
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Claim 1                                                   Accused Products




                   Source: TS 36.211, p. 58




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             Claim 1                                                          Accused Products

                                       Source: TS 36.213, p. 55


[B][1] searching for the control       As evidenced below, an Accused Product operating on an LTE network searches for the
channel in the at least one CCE from   control channel in the at least one CCE from a plurality of candidate CCEs, the plurality of
a plurality of candidate CCEs, the     candidate CCEs being in a plurality of aggregation levels, each of the plurality of
plurality of candidate CCEs being in   aggregation levels comprising a respective limited number of candidate control channels.
a plurality of aggregation levels,
each of the plurality of aggregation
levels comprising a respective
limited number of candidate control
channels, and




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              Claim 1                                                   Accused Products




                                  Source: TS 36.213, pp. 64-65


[B][2] the searching includes     The searching includes searching at least one of the respective limited number of candidate
searching at least one of the     control channels in at least one of the plurality of aggregation levels.



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               Claim 1                                                       Accused Products
respective limited number of
candidate control channels in at least
one of the plurality of aggregation
levels; and




                                         Source: TS 36.213, pp. 64-65




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                  Claim 1                                                      Accused Products
    [C][1] transmitting an uplink data   As evidenced below, an Accused Product operating on an LTE network transmits an uplink
    signal according to the uplink       data signal according to the uplink communication resource.
    communication resource,




                                         Source: TS 36.300, 3 p. 67


    [C][2] the indication of the uplink  The indication of the uplink communication resource is decoded from the control channel of
    communication resource decoded       the wireless signal according to the plurality of candidate CCEs using an identifier
    from the control channel of the      associated with the user equipment.
    wireless signal according to the
    plurality of candidate CCEs using an
    identifier associated with the user
    equipment.




                                         Source: TS 36.213, pp. 52-54


3
 3GPP TS 36.300 V8.12.0 (2010-03) Evolved Universal Terrestrial Radio Access (E-UTRA) and Evolved Universal Terrestrial Radio
Access Network (E-UTRAN); Overall description; Stage 2 (Release 8)

                                                                   8
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             Claim 1                                                       Accused Products



               Claim 2                                                     Accused Products
The method of claim 1, wherein at a   As evidenced below, at a first aggregation level the control channel is in one CCE and
first aggregation level the control   wherein at a second aggregation level the control channel is in two consecutive CCEs.
channel is in one CCE and wherein
at a second aggregation level the
control channel is in two
consecutive CCEs.




                                      Source: TS 36.211, p. 58




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               Claim 3                                                      Accused Products
The method of claim 2, wherein at a     As evidenced below, at a third aggregation level the control channel is in four consecutive
third aggregation level the control     CCEs and wherein at a fourth aggregation level the control channel is in eight consecutive
channel is in four consecutive CCEs     CCEs.
and wherein at a fourth aggregation
level the control channel is in eight
consecutive CCEs.




                                        Source: TS 36.211, p. 58




              Claim 4                                                        Accused Products
The method of claim 1, wherein the      As evidenced below, an Accused Product operating on an LTE network decodes the plurality
searching further comprises:            of candidate CCEs using the identifier associated with the user equipment to determine the
                                        uplink communication resource.
decoding the plurality of candidate
CCEs using the identifier associated


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               Claim 4                                                   Accused Products
with the user equipment to
determine the uplink communication
resource.




                                     Source: TS 36.213, p. 65




                                     Source: TS 36.213, pp. 52-54




             Claim 5                                                    Accused Products
[PRE] A user equipment               An Accused Product is a user equipment (UE).
comprising:


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               Claim 5                                                         Accused Products
[A] a receiver operable to receive a      The Accused Products include hardware and software for receiving wireless signaling when
wireless signal at the user               communicating using LTE (i.e., a receiver operable to receive a wireless signal at the user
equipment, the wireless signal            equipment). As evidenced above, Accused Products include a receiver operable to receive a
comprising a control channel for the      wireless signal at the user equipment, the wireless signal comprising a control channel for
user equipment, the control channel       the user equipment, the control channel being in at least one control channel element (CCE),
being in at least one control channel     wherein the control channel comprises an indication of an uplink communication resource
element (CCE), wherein the control        useable by the user equipment for uplink communication. See Claim 1, [A].
channel comprises an indication of
an uplink communication resource
useable by the user equipment for
uplink communication;
[B][1] a processor operable to search     The Accused Products include one or more processors (e.g., processor(s) in a telematics unit,
for the control channel in the at least   processor(s) in a data communications module) configured to implement and/or support LTE
one CCE from a plurality of               communications. As evidenced above, the one or more processors are operable to search for
candidate CCEs, the plurality of          the control channel in the at least one CCE from a plurality of candidate CCEs, the plurality
candidate CCEs being in a plurality       of candidate CCEs being in a plurality of aggregation levels, each of the plurality of
of aggregation levels, each of the        aggregation levels comprising a respective limited number of candidate control channels. See
plurality of aggregation levels           Claim 1, [B][1].
comprising a respective limited
number of candidate control
channels, and
[B][2] the searching includes             As evidenced above, the searching includes searching at least one of the respective limited
searching at least one of the             number of candidate control channels in at least one of the plurality of aggregation levels.
respective limited number of              See Claim 1, [B][2].
candidate control channels in at least
one of the plurality of aggregation
levels; and
[C][1] a transmitter operable to          The Accused Products include hardware and software for transmitting an uplink data signal
transmit an uplink data signal            when communicating using LTE (i.e., a transmitter operable to transmit an uplink data
according to the uplink                   signal). As evidenced above, the hardware and software for transmitting an uplink data
communication resource,                   signal is operable to transmit an uplink data signal according to the uplink communication
                                          resource. See Claim 1, [C][1].


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              Claim 5                                                       Accused Products


[C][2] the indication of the uplink  As evidenced above, the indication of the uplink communication resource is decoded from
communication resource decoded       the control channel of the wireless signal according to the plurality of candidate CCEs using
from the control channel of the      an identifier associated with the user equipment. See Claim 1, [C][2].
wireless signal according to the
plurality of candidate CCEs using an
identifier associated with the user
equipment.


               Claim 6                                                      Accused Products
The user equipment of claim 5,         As evidenced above, at a first aggregation level the control channel is in one CCE and
wherein at a first aggregation level   wherein at a second aggregation level the control channel is in two consecutive CCEs. See
the control channel is in one CCE      Claim 2.
and wherein at a second aggregation
level the control channel is in two
consecutive CCEs.


               Claim 7                                                      Accused Products
The user equipment of claim 6,         As evidenced above, at a third aggregation level the control channel is in four consecutive
wherein at a third aggregation level   CCEs and wherein at a fourth aggregation level the control channel is in eight consecutive
the control channel is in four         CCEs.
consecutive CCEs and wherein at a
fourth aggregation level the control
channel is in eight consecutive
CCEs.




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              Claim 8                                                         Accused Products
The user equipment of claim 5,           As evidenced above, the one or more processors is further operable to decode the plurality of
wherein the processor is further         candidate CCEs using the identifier associated with the user equipment to determine the
operable:                                uplink communication resource. See Claim 4.

to decode the plurality of candidate
CCEs using the identifier associated
with the user equipment to
determine the uplink communication
resource.


                Claim 9                                                        Accused Products
[PRE] A non-transitory computer          Each Accused Product includes one or more processors (e.g., processor(s) in a telematics
readable storage medium storing a        unit, processor(s) in a data communications module) configured to implement and/or support
set of instructions for execution by a   LTE communications. These processors implement instructions stored as software/code in
user equipment, the set of               memory included in the Accused Product (i.e., a non-transitory computer readable storage
instructions comprising:                 medium storing a set of instructions for execution by a user equipment).


[A] a receiving code segment for         As evidenced above, the instructions include software/code that when implemented cause the
receiving a wireless signal at the       UE to receive a wireless signal at the user equipment, the wireless signal comprising a
user equipment, the wireless signal      control channel for the user equipment, the control channel being in at least one control
comprising a control channel for the     channel element (CCE), the control channel comprising an indication of an uplink
user equipment, the control channel      communication resource useable by the user equipment for uplink communication. See
being in at least one control channel    Claim 1, [A].
element (CCE), the control channel
comprising an indication of an
uplink communication resource
useable by the user equipment for
uplink communication;
[B][1] a searching code segment for      As evidenced above, the instructions include software/code that when implemented cause the
searching for the control channel in     UE to search for the control channel in the at least one CCE from a plurality of candidate



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               Claim 9                                                        Accused Products
the at least one CCE from a plurality    CCEs, the plurality of candidate CCEs being in a plurality of aggregation levels, each of the
of candidate CCEs, the plurality of      plurality of aggregation levels comprising a respective limited number of candidate control
candidate CCEs being in a plurality      channels. See Claim 1, [B][1].
of aggregation levels, each of the
plurality of aggregation levels
comprising a respective limited
number of candidate control
channels, and
[B][2] the searching includes            As evidenced above, the searching includes searching at least one of the respective limited
searching at least one of the            number of candidate control channels in at least one of the plurality of aggregation levels.
respective limited number of             See Claim 1, [B][2].
candidate control channels in at least
one of the plurality of aggregation
levels; and
[C][1] a transmitting code segment       As evidenced above, the instructions include software/code that when implemented cause the
for transmitting an uplink data signal   UE to transmit an uplink data signal according to the uplink communication resource. See
according to the uplink                  Claim 1, [C][1].
communication resource,

[C][2] the indication of the uplink  As evidenced above, the indication of the uplink communication resource is decoded from
communication resource decoded       the control channel of the wireless signal according to the plurality of candidate CCEs using
from the control channel of the      an identifier associated with the user equipment. See Claim 1, [C][2].
wireless signal according to the
plurality of candidate CCEs using an
identifier associated with the user
equipment.


              Claim 10                                                        Accused Products
The non-transitory computer              As evidenced above, at a first aggregation level the control channel is in one CCE and
readable medium of claim 9,              wherein at a second aggregation level the control channel is in two consecutive CCEs. See
wherein at a first aggregation level     Claim 2.



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              Claim 10                                                      Accused Products
the control channel is in one CCE
and wherein at a second aggregation
level the control channel is in two
consecutive CCEs.


              Claim 11                                                      Accused Products
The non-transitory computer            As evidenced above, at a third aggregation level the control channel is in four consecutive
readable medium of claim 10,           CCEs and wherein at a fourth aggregation level the control channel is in eight consecutive
wherein at a third aggregation level   CCEs. See Claim 3.
the control channel is in four
consecutive CCEs and wherein at a
fourth aggregation level the control
channel is in eight consecutive
CCEs.


               Claim 12                                                      Accused Products
The non-transitory computer            As evidenced above, the instructions that when implemented cause the UE to search for the
readable medium of claim 9,            control channel include instructions for decoding the plurality of candidate CCEs using the
wherein the searching code segment     identifier associated with the user equipment to determine the uplink communication
includes instructions for decoding     resource. See Claim 4.
the plurality of candidate CCEs
using the identifier associated with
the user equipment to determine the
uplink communication resource.




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